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                          UNITED STATES DISTRICT COURT FOR THE

                                SOUTHERN DISTRICT OF FLORIDA

                                           MIAMI DIVISION

                                        CASE NO. 1:24-cv-25046

   XYZ CORPORATION,

   Plaintiff,

   v.

   THE INDIVIDUALS, PARTNERSHIPS AND

   UNINCORPORATED ASSOCIATIONS IDENTIFIED

   ON SCHEDULE “A”,

   Defendants.

   _________________________________________________/

         NOTICE OF VOLUNTARY DISMISSAL AS TO LIMAI CHOICE CO. LTD ONLY


   PLEASE TAKE NOTICE, pursuant to Fed. R. Civ. P. 41(a)(1)(A)(i) and by undersigned counsel,

   Plaintiff hereby voluntarily dismisses with prejudice all claims against LIMAI Choice Co. Ltd (Def.

   No. 118) who owns and operates the online marketplace accounts identified by the Walmart accounts

   https://www.walmart.com/global/seller/101584384 with Store id: 101584384.


   Respectfully submitted on this 27th day of March, 2025.


                                                                  FELDENKRAIS LAW, P.A.

                                                                  Attorneys for Plaintiffs

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                                                                  By:/s/ Michael Feldenkrais, Esq.

                                                                  Florida Bar No. 991708
